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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court because defendant

Christopher Scott has filed a notice of appeal (Filing No. 1232)

of this Court’s order and judgment (Filing No. 1228) denying his

motion for leave to amend and file a supplemental pleading to his

prior 28 U.S.C. § 2255 petition (Filing No. 1226).

            “Before presenting a second or successive motion, the

moving party must obtain an order from the appropriate court of

appeals authorizing the district court to consider the motion, as

required by 28 U.S.C. § 2255, para. 8.”           28 U.S.C. § 2255 Rule 9.

This Court denied Scott’s motion for leave to amend because it

was, in effect, a second, successive § 2255 motion, and the Court

did not have an order from the Eighth Circuit authorizing the

Court to consider Scott’s motion.         See Memorandum Opinions,

Filing Nos. 1227 and 1230.       Accordingly,
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            IT IS ORDERED that no certificate of appealability will

be issued by this Court.      Defendant is permitted to proceed on

appeal in forma pauperis.

            DATED this 16th day of April, 2013.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




                                      -2-
